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 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 RAYMOND DAVIS,                                          Case No.: 2:20-cv-01696-APG-EJY

 4          Plaintiff                                         Order Accepting Report and
                                                                  Recommendation
 5 v.
                                                                       [ECF No. 6]
 6 JAQUELINE BLUTH, et al.,

 7          Defendants

 8         On October 5, 2020, Magistrate Judge Youchah recommended that I dismiss plaintiff

 9 Raymond Davis’s first, second, fifth, sixth, seventh, and eighth causes of action against

10 defendant Jaqueline Bluth without prejudice and that I dismiss his third, fourth, and ninth causes

11 of action with prejudice. ECF No. 6. She also recommended I give Davis 30 days from the date

12 of her order to file an amended complaint. Davis did not file an objection. Thus, I am not

13 obligated to conduct a de novo review of the report and recommendation. 28 U.S.C. § 636(b)(1)

14 (requiring district courts to “make a de novo determination of those portions of the report or

15 specified proposed findings to which objection is made”); United States v. Reyna-Tapia, 328

16 F.3d 1114, 1121 (9th Cir. 2003) (en banc) (“the district judge must review the magistrate judge’s

17 findings and recommendations de novo if objection is made, but not otherwise” (emphasis in

18 original)).

19         I THEREFORE ORDER that Magistrate Judge Youchah’s report and recommendation

20 (ECF No. 6) is accepted. Plaintiff Raymond Davis’s first, second, fifth, sixth, seventh, and

21 eighth causes of action against defendant Jaqueline Bluth are dismissed without prejudice.

22 Davis’s third, fourth, and ninth causes of action are dismissed with prejudice. Davis may file an

23 amended complaint consistent with Magistrate Judge Youchah’s report and recommendation and
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 1 this order by November 25, 2020. Failure to file an amended complaint by that date may result

 2 in dismissal of this case without prejudice.

 3         DATED this 26th day of October, 2020.

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 5
                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
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